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7                              UNITED STATES DISTRICT COURT

8                              CENTRAL DISTRICT OF CALIFORNIA

9     ALEKSANDAR LUKICH,                           No. 2:21-cv-02124-MAR
        Plaintiff,
10

11    v.
                                                   [PROPOSED] ORDER FOR THE AWARD
12    KILOLO KIJAKAZI,                             AND PAYMENT OF ATTORNEY FEES
      Acting Commissioner of Social Security,      AND EXPENSES PURSUANT TO THE
13       Defendant.                                EQUAL ACCESS TO JUSTICE ACT, 28
                                                   U.S.C. § 2412(d)
14
            Based upon the parties’ Stipulation for the Award and Payment of Attorney Fees
15
     and Expenses Pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d),
16
            IT IS ORDERED that attorney fees and expenses of $6,021.00 as authorized by 28
17   U.S.C. § 2412(d), be awarded subject to the terms of the Stipulation.
18

19          12/07/21
     DATE: ______________              ______
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                                                     ________
                                       __________________________________
                                       HONOR
                                           OR
                                           O RABLE MARGO A.
                                       HONORABLE            A ROCCONI
20
                                       UNITED STATES MAGISTRATE JUDGE
21
     Respectfully submitted:
22

23   /s/ James B. Lewis
     James B. Lewis
24   Attorney for Plaintiff

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